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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

KURT WILSON, Individually and On Behalf             )
of All Others Similarly Situated,                   )
                                                    )
                       Plaintiff,                   )   Case No. ______________
                                                    )
       v.                                           )   JURY TRIAL DEMANDED
                                                    )
EXPRESS SCRIPTS HOLDING                             )   CLASS ACTION
COMPANY, GEORGE PAZ, MAURA C.                       )
BREEN, WILLIAM J. DELANEY, ELDER                    )
GRANGER, NICHOLAS J. LAHOWCHIC,                     )
KATHLEEN M. MAZZARELLA, THOMAS                      )
P. MAC MAHON, FRANK                                 )
MERGENTHALER, WOODROW A.                            )
MYERS JR., RODERICK A. PALMORE,                     )
WILLIAM L. ROPER, SEYMOUR                           )
STERNBERG, TIMOTHY WENTWORTH,                       )
CIGNA CORPORATION, HALFMOON                         )
PARENT, INC., HALFMOON I, INC., AND                 )
HALFMOON II, INC.,                                  )
                                                    )
                       Defendants.                  )

   COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges

upon personal knowledge with respect to himself, and upon information and belief based upon,

inter alia, the investigation of counsel as to all other allegations herein, as follows:

                                    NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on March 8, 2018 (the

“Proposed Transaction”), pursuant to which Express Scripts Holding Company (“Express

Scripts” or the “Company”) will be acquired by Cigna Corporation (“Parent”), Halfmoon Parent,

Inc. (“Holdco”), Halfmoon I, Inc. (“Merger Sub I”), and Halfmoon II, Inc. (“Merger Sub II,” and

together with Parent and Merger Sub I, “Cigna”).
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       2.      On March 8, 2018, Express Scripts’ Board of Directors (the “Board” or

“Individual Defendants”) caused the Company to enter into an agreement and plan of merger

(the “Merger Agreement”) with Cigna.          Pursuant to the terms of the Merger Agreement,

shareholders of Express Scripts will receive $48.75 in cash and 0.2434 shares of Holdco stock

for each Express Scripts share they own.

       3.      On June 20, 2018, defendants filed a registration statement (the “Registration

Statement”) with the United States Securities and Exchange Commission (“SEC”) in connection

with the Proposed Transaction.

       4.      The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

Accordingly, plaintiff alleges herein that defendants violated Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “1934 Act”) in connection with the Registration Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.




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                          PARTIES AND RELEVANT ENTITIES

       8.     Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Express Scripts common stock.

       9.     Defendant Express Scripts is a Delaware corporation and maintains its

headquarters at One Express Way, St. Louis, Missouri 63121. Express Scripts’ common stock is

traded on the NASDAQGS under the ticker symbol “ESRX.”

       10.    Defendant George Paz (“Paz”) is Chairman of the Board of Express Scripts.

       11.    Defendant Maura C. Breen (“Breen”) is a director of Express Scripts.

       12.    Defendant William J. DeLaney (“DeLaney”) is a director of Express Scripts.

       13.    Defendant Elder Granger (“Granger”) is a director of Express Scripts.

       14.    Defendant Nicholas J. LaHowchic (“LaHowchic”) is a director of Express Scripts.

       15.    Defendant Kathleen M. Mazzarella (“Mazzarella”) is a director of Express

Scripts.

       16.    Defendant Thomas P. Mac Mahon (“Mac Mahon”) is a director of Express

Scripts.

       17.    Defendant Frank Mergenthaler (“Mergenthaler”) is a director of Express Scripts.

       18.    Defendant Woodrow A. Myers Jr. (“Myers”) is a director of Express Scripts.

       19.    Defendant Roderick A. Palmore (“Palmore”) is a director of Express Scripts.

       20.    Defendant William L. Roper (“Roper”) is a director of Express Scripts.

       21.    Defendant Seymour Sternberg (“Sternberg”) is a director of Express Scripts.

       22.    Defendant Timothy Wentworth (“Wentworth”) is a director of Express Scripts.

       23.    The defendants identified in paragraphs 10 through 22 are collectively referred to

herein as the “Individual Defendants.”




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       24.     Non-party Parent is Delaware corporation and a party to the Merger Agreement.

       25.     Non-party Holdco is a Delaware corporation, a wholly-owned subsidiary of

Parent, and a party to the Merger Agreement.

       26.     Non-party Merger Sub I is a Delaware corporation, a wholly-owned subsidiary of

Holdco, and a party to the Merger Agreement.

       27.     Non-party Merger Sub II is a Delaware corporation, a wholly-owned subsidiary of

Holdco, and a party to the Merger Agreement.

                              CLASS ACTION ALLEGATIONS

       28.     Plaintiff brings this action as a class action on behalf of himself and the other

public stockholders of Express Scripts (the “Class”). Excluded from the Class are defendants

herein and any person, firm, trust, corporation, or other entity related to or affiliated with any

defendant.

       29.     This action is properly maintainable as a class action.

       30.     The Class is so numerous that joinder of all members is impracticable. As of

March 7, 2018, there were approximately 561,236,845 shares of Express Scripts common stock

outstanding.

       31.     Questions of law and fact are common to the Class, including, among others: (i)

whether defendants violated the 1934 Act; and (ii) whether defendants will irreparably harm

plaintiff and the other members of the Class if defendants’ conduct complained of herein

continues.

       32.     Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

other members of the Class and plaintiff has the same interests as the other members of the




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Class. Accordingly, plaintiff is an adequate representative of the Class and will fairly and

adequately protect the interests of the Class.

        33.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible

standards of conduct for defendants, or adjudications that would, as a practical matter, be

dispositive of the interests of individual members of the Class who are not parties to the

adjudications or would substantially impair or impede those non-party Class members’ ability to

protect their interests.

        34.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        35.     Express Scripts puts medicine within reach of tens of millions of people by

aligning with plan sponsors, taking bold action, and delivering patient-centered care to make

better health more affordable and accessible.

        36.     The Company provides integrated pharmacy benefit management services,

including network-pharmacy claims processing, home delivery pharmacy care, specialty

pharmacy care, specialty benefit management, benefit-design consultation, drug utilization

review, formulary management, and medical and drug data analysis services.

        37.     Express Scripts also distributes a full range of biopharmaceutical products and

provides extensive cost-management and patient-care services.

        38.     On March 8, 2018, the Individual Defendants caused the Company to enter into




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the Merger Agreement with Cigna.

       39.    Pursuant to the terms of the Merger Agreement, shareholders of Express Scripts

will receive $48.75 in cash and 0.2434 shares of Holdco stock for each Express Scripts share

they own.

       40.    According to the press release announcing the Proposed Transaction:

       Cigna Corporation (NYSE: CI) and Express Scripts Holding Company
       (NASDAQ: ESRX) today announced that they have entered into a definitive
       agreement whereby Cigna will acquire Express Scripts in a cash and stock
       transaction valued at approximately $67 billion, including Cigna's assumption of
       approximately $15 billion in Express Scripts debt. The merger consideration will
       consist of $48.75 in cash and 0.2434 shares of stock of the combined company per
       Express Scripts share. The transaction was approved by the board of directors of
       each company. . . .

       Terms of the Agreement

       Under the terms of the definitive agreement, the transaction consideration will
       consist of $48.75 in cash and 0.2434 shares of stock of the combined company per
       Express Scripts share, or $54 billion in the aggregate. Upon closing of the
       transaction, Cigna shareholders will own approximately 64% of the combined
       company and Express Scripts shareholders will own approximately 36%. The
       consideration represents an approximately 31% premium to Express Scripts’
       closing price of $73.42 on March 7, 2018.

       Upon closing, the combined company will be led by David M. Cordani as
       President and CEO. Tim Wentworth will assume the role of President, Express
       Scripts. The combined company’s board will be expanded to 13 directors,
       including four independent members of the Express Scripts board.

       The combined company will be named Cigna. Cigna's headquarters in
       Bloomfield, Connecticut, will become the headquarters for the combined
       company, and Express Scripts will be headquartered in St. Louis, Missouri. At
       closing, the combined company will make an incremental investment of $200
       million in its charitable foundation, to support the communities in which it
       operates, and with the continued focus on improving societal health.

       Financing, Closing and Approvals

       Cigna intends to fund the cash portion of the transaction consideration through a
       combination of cash on hand, assumed Express Scripts debt and new debt
       issuance and Cigna has obtained fully committed debt financing from Morgan



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       Stanley Senior Funding, Inc. and The Bank of Tokyo-Mitsubishi UFJ, Ltd. The
       transaction is not subject to a financing condition. Upon completion of the
       transaction, Cigna is expected to have debt of approximately $41.1 billion. Cigna
       expects to have a debt-to-capitalization ratio of approximately 49% following the
       acquisition, and aims to achieve a ratio in the 30’s within 18 to 24 months after
       the transaction closes. Cigna expects to maintain its investment grade ratings.

       The transaction, which is expected to be completed by December 31, 2018, is
       subject to the approval of Cigna and Express Scripts shareholders and the
       satisfaction of customary closing conditions, including applicable regulatory
       approvals. Until the closing, Cigna and Express Scripts will continue to operate as
       independent companies.

The Registration Statement Omits Material Information

       41.     Defendants filed the Registration Statement with the SEC in connection with the

Proposed Transaction.

       42.     The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

       43.     First, the Registration Statement omits material information regarding the

Company’s and Cigna’s financial projections and the analyses performed by the Company’s

financial advisors, Centerview Partners LLC (“Centerview”) and Lazard Frères & Co. LLC

(“Lazard”).

       44.     With respect to the Company’s financial projections, the Registration Statement

fails to disclose: (i) all projection line items for years 2023 through 2027; (ii) all line items used

to calculate unlevered free cash flow; (iii) all line items used to calculate Adjusted EBITDA and

Core EBITDA; and (iv) a reconciliation of all non-GAAP to GAAP metrics.

       45.     With respect to Cigna’s financial projections, the Registration Statement fails to

disclose: (i) all line items used to calculate unlevered free cash flow; (ii) all line items used to

calculate EBITDA; and (iii) a reconciliation of all non-GAAP to GAAP metrics.

       46.     With respect to Centerview’s Discounted Cash Flow Analyses, the Registration



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Statement fails to disclose: (i) the specific inputs and assumptions underlying the ranges of

discount rates and the perpetuity growth rates used and applied by Centerview in its analyses; (ii)

the Company’s and Cigna’s net debt; (iii) the ranges of illustrative terminal values for Express

Scripts and Cigna; and (iv) the number of fully-diluted outstanding shares of Express Scripts and

Cigna common stock.

       47.     With respect to Centerview’s Selected Trading Company Analyses, the

Registration Statement fails to disclose: (i) the financial metrics for the companies observed by

Centerview in its analyses; and (ii) the Company’s and Cigna’s net debt.

       48.     With respect to Centerview’s Selected Precedent Transaction Analysis, the

Registration Statement fails to disclose the Company’s net debt.

       49.     With respect to Centerview’s Premia Paid Analysis, the Registration Statement

fails to disclose the transactions observed by Centerview in its analysis as well as the premiums

paid in such transactions.

       50.     With respect to Lazard’s Discounted Cash Flow Analyses, the Registration

Statement fails to disclose: (i) the specific inputs and assumptions underlying the ranges of

discount rates and perpetuity growth rates used and applied by Lazard in its analyses; and (ii) the

ranges of estimated terminal values for Express Scripts and Cigna.

       51.     With respect to Lazard’s Selected Public Companies Analyses, the Registration

Statement fails to disclose the financial metrics for the companies observed by Lazard in its

analyses.

       52.     With respect to Lazard’s illustrative value creation analysis, the Registration

Statement fails to disclose: (i) the inputs and assumptions underlying the discount rate used by

Lazard in its analysis; and (ii) pro forma net debt for the combined company.




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        53.     With respect to Lazard’s illustrative premia paid analysis, the Registration

Statement fails to disclose the transactions observed by Lazard in its analysis as well as the

premiums paid in such transactions.

        54.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion. Moreover, when a banker’s endorsement of the

fairness of a transaction is touted to shareholders, the valuation methods used to arrive at that

opinion as well as the key inputs and range of ultimate values generated by those analyses must

also be fairly disclosed.

        55.     Second, the Registration Statement omits material information regarding potential

conflicts of interest of Lazard.

        56.     The Registration Statement fails to disclose the amount of compensation Lazard

has received for the past services it provided to the Company and its affiliates.

        57.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

        58.     Third, the Registration Statement fails to disclose whether the Company executed

any confidentiality agreements that contained “don’t ask, don’t waive” provisions that prevented

the counterparties from requesting waivers of standstill provisions to submit superior offers to

acquire the Company, as well as whether any parties that executed confidentiality agreements are

still subject to standstill provisions.

        59.     Without this information, stockholders may have the mistaken belief that, if these




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potentially interested parties wished to come forward with a superior offer, they are or were

permitted to do so, when in fact they are or were contractually prohibited from doing so.

        60.     The omission of the above-referenced material information renders the

Registration Statement false and misleading, including, inter alia, the following sections of the

Registration Statement: (i) Background of the Mergers; (ii) Recommendation of the Express

Scripts Board of Directors; Express Scripts’ Reasons for the Mergers; (iii) Opinions of Financial

Advisors to Express Scripts; and (iv) Certain Financial Forecasts.

        61.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                               COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
            Thereunder Against the Individual Defendants and Express Scripts

        62.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

        63.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and

Rule 14a-9, in light of the circumstances under which they were made, omitted to state material

facts necessary to make the statements therein not materially false or misleading. Express Scripts

is liable as the issuer of these statements.

        64.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants.      By virtue of their positions within the Company, the Individual

Defendants were aware of this information and their duty to disclose this information in the

Registration Statement.

        65.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.



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       66.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to

vote on the Proposed Transaction. In addition, a reasonable investor will view a full and

accurate disclosure as significantly altering the total mix of information made available in the

Registration Statement.

       67.     The Registration Statement is an essential link in causing plaintiff and the

Company’s stockholders to approve the Proposed Transaction.

       68.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       69.     Because of the false and misleading statements in the Registration Statement,

plaintiff and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                        Against the Individual Defendants and Cigna

       70.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       71.     The Individual Defendants and Cigna acted as controlling persons of Express

Scripts within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their

positions as officers and/or directors of Express Scripts and participation in and/or awareness of

the Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that plaintiff contends are false and misleading.

       72.     Each of the Individual Defendants and Cigna was provided with or had unlimited

access to copies of the Registration Statement alleged by plaintiff to be misleading prior to



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and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause them to be corrected.

       73.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control and influence the particular transactions giving rise to the violations as

alleged herein, and exercised the same. The Registration Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly involved in the making of the Registration Statement.

       74.     Cigna also had direct supervisory control over the composition of the Proxy

Statement and the information disclosed therein, as well as the information that was omitted

and/or misrepresented in the Proxy Statement.

       75.     By virtue of the foregoing, the Individual Defendants and Cigna violated Section

20(a) of the 1934 Act.

       76.     As set forth above, the Individual Defendants and Cigna had the ability to

exercise control over and did control a person or persons who have each violated Section 14(a)

of the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

Act. As a direct and proximate result of defendants’ conduct, plaintiff and the Class threatened

with irreparable harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;




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       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required

in it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff respectfully requests a trial by jury on all issues so triable.

Dated: June 29, 2018                               RIGRODSKY & LONG, P.A.

                                             By: /s/ Brian D. Long
                                                 Brian D. Long (#4347)
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